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                    EXHIBIT D
                            Case 3:17-cv-00072-NKM-JCH Document 929-5 Filed 03/05/21 Page 2 of 2 Pageid#:
                                                             15976

DATE             PERSON                 DESCRIPTION                                                               HOURS          RATE         TOTAL
                                        Discuss failure to appear issues with J. Phillips; research, draft, and
                                        revise motion to compel Kline deposition; coordinate and prepare
        7/2/2020 Katherine Cheng        exhibits for the same                                                              5.8 $     275.00   $       1,595.00

        7/3/2020 Katherine Cheng        Finalize motion to compel Kline deposition and exhibits for filing                  1 $      275.00   $        275.00
                                        Begin to draft supplemental brief regarding motion to compel Kline
       7/17/2020 Katherine Cheng        deposition                                                                         1.2 $     275.00   $        330.00
                                        Edit and revise supplemental brief regarding motion to compel Kline
       7/19/2020 Katherine Cheng        deposition                                                                         0.6 $     275.00   $        165.00
                                        Revise supplemental brief regarding motion to compel Kline
       7/20/2020 Katherine Cheng        deposition in accordance with J. Phillips edits                                    0.4 $     275.00   $        110.00

     7/21/2020   Katherine Cheng        Finalize and file supplemental brief regarding Kline motion to compel              0.4   $   275.00   $         110.00
SUBTOTAL                                                                                                                   9.4   $   275.00   $       2,585.00
      7/2/2020   Jessica Phillips       Edited Kline motion to compel                                                      0.5   $   450.00   $         225.00
SUBTOTAL                                                                                                                   0.5   $   450.00   $         225.00
      7/2/2020   Stephanie Spear        Prepared exhibits for motion to compel E. Kline deposition                         0.5   $   100.00   $          50.00
SUBTOTAL                                                                                                                   0.5   $   100.00   $          50.00
      7/2/2020   TSG Reporting          Court reporting and transcript services for Kline deposition                                          $       1,017.25
      7/2/2020   TSG Reporting          Videography services for Kline deposition                                                             $         295.00
SUBTOTAL                                                                                                                                      $       1,312.25

TOTAL                                                                                                                     10.4                $       4,172.25
